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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION


UNITED STATES OF AMERICA



       V.                                            Case No. 2;18-cr-050


ELLIOT LOYRANZY ARMSTRONG



                               PLEA AGREEMENT


      Defendant ELLIOT LOYRANZY ARMSTRONG,represented by his counsel

Steven G. Blackerby, and the United States of America, represented by Assistant

United States Attorneys Jennifer J. Kirkland and Marcela C. Mateo, have reached a

plea agreement in this case. The terms and conditions of that agreement are as

follows:


1.    COUNTS TO WHICH DEFENDANT PLEADS GUILTY


      Defendant agrees to enter a plea of guilty to Count 1 of the Superseding

Indictment, which charges violations of Title 21, United States Code, Section 846.

2.    ELEMENTS AND FACTUAL BASIS

      The elements necessary to prove Count 1 are (1) That two or more people in

some way agreed to try to accompHsh a shared and unlawful plan to possess a mixture

or substance containing a detectable amount of cocaine, a Schedule II controlled

substance; and (2) That the Defendant knew the unlawful purpose of the plan and

willfully joined in it; and (3)That the object of the unlawful plan was to possess with

the intent to distribute and distribute the cocaine. Defendant agrees that he is, in
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fact, guilty of this offense. He agrees to the accuracy of the following facts, which

satisfy each ofthe offense's required elements:

       Beginning on a date unknown to the Grand Jury, but as early as October 2017,

up to November 2018, the precise dates being unknown, in Glynn Coxmty and

surrounding counties, within the Southern District of Georgia, and elsewhere, the

defendant, ELLIOT LOYRANZY ARMSTRONG, aided and abetted by the co-

defendants and by others known and unknown, did knowingly and intentionally

combine, conspire, confederate and agree together and with each other, and with

others known and rmknown, to possess with the intent to distribute and distribute

the cocaine. All in violation of Title 21, United States Code, Sections 841(a)(1) and

846.


3.     POSSIBLE SENTENCE


       Defendant's guilty plea to Count 1 will subject him to the following maximum

possible sentence: Imprisonment of not more than 20 years, a supervised release

term of at least 3 years, a $1,000,000 fine, such restitution as may be ordered by the

Coin±, and forfeiture of all forfeitable assets. The Court additionally must impose a

$100 special assessment.

4.     NO PROMISED SENTENCE

       No one has promised Defendant that the Coxirt will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

Government, the U.S. Probation Office, or anyone else. The Court may impose a
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sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.    COURTS USE OF SENTENCING GUIDELINES


      The Court is obhgated to use the United States Sentencing Guidelines to

calculate the apphcahle guideline range for Defendant's offense. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those GuideHnes suggest. The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB 1.3, not just the conduct underlsdng the particular Count or Counts to which

Defendant is pleading guilty.

6.    AGREEMENTS REGARDING SENTENCING GUIDELINES

      a.     Use ofInformation

      Nothing in this agreement precludes the Government from providing full and

accurate information to the Court and U.S.Probation Of&ce for use in calculating the

apphcahle Sentencing Guidelines range.

      b.     Acceptance ofResponsibility

      The Government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a)ofthe Sentencing Guidehnes. Ifthe U.S.

Probation Office makes that I'ecommendation, and Defendant's offense level is 16 or
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greater prior to any reduction for acceptance of responsibility, the Government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

7.     DISMISSAL OF OTHER COUNTS

       At sentencing, the Government will move to dismiss any other Coimts of the

Indictment that remain pending against Defendant, if applicable.

8.     FINANCIAL OBLIGATIONS AND AGREEMENTS

       a.    Restitution


      The amount ofrestitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not hmited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and will survive Defendant, notwithstanding the abatement of any

underl3dng criminal conviction.

      b.     Special Assessment

      Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

      c.     Required Financial Disclosures

      By the date that Defendant enters a guilty plea, Defendant shall complete a

financial disclosure form hsting all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.
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Defendant shall sign the financial disclosure form under penalty of peijury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United


States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his

financial disclosmes and assets if deemed necessary by the United States. Such

examination wiU occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer ofAssets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the pm'pose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him by the Com't at

sentencing. Defendant promises that he wiQ make no such transfers in the future.

        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C. § 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.
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       g.     Enforcement

       Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount ofthe

financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obhgations imposed by the judgment ofthe

Coxmt in this case will be placed on the Treasury Offset Program so that any federal

pa3unent that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.     WAIVERS


       a.     Waiver ofAppeal

       Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to.file an appeal.

      b.      Waiver of Collateral Attack

      Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.
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§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim ofineffective assistance of counsel.

       c.     FOIA and Privacy Act Waiver

       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C.§ 552a, and aU subsequent amendments thereto.

       d.     Fed. R. Crim. P. 11(f)and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of giiilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

10.    DEFENDANT'S RIGHTS


       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea,* the right to a jury trial; and the right at trial to confront and cross-examine
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adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.

11.   SATISFACTION WITH COUNSEL

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beHeves that his attorney has represented his faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

12.   21 U.S.C. SECTION 851 ENHANCEMENT

      The Government agrees not to file a Title 21, Section 851 enhancement against

the Defendant, if apphcable.

13.   BREACH OF PLEA AGREEMENT


      IfDefendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the Government is released from all of its

agreements regarding Defendant's sentence,including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidehnes.          In addition, the

Government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.




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14.    ENTIRE AGREEMENT

       This agreement contains the entire agreement between the Government and

Defendant. The Government has made no promises or representations except those

set forth in writing in this Plea Agreement. The Government further denies the

existence of any other terms or conditions not stated herein. No other promises,

terms or conditions will be entered into unless they are in writing and signed by all

the parties.

                                       BOBBY I^CHRI^NE
                                       UNITEKSTATES ATTORNEY



Date                                   Brian T'T Rafierty
                                       Chief, Criminal Division




Date                                         er J.
                                          istant U           es Attorney




Date                                   Ma cela C. Mateo
                                      Ass Lstant United States    orney




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       I have read and carefully reviewed this agreement with my attorney. I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.




)ate
Date                                    Elliot Loyranzy ArmOTr®^
                                        Defendant




       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, inteUigent, and voluntary one.




Date                                    Steven G. Blackerby
                                        Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                        BRUNSWICK DIVISION


UNITED STATES OF AMERICA                 ) Case No. 2:18-cr-050
                                         )
V.                                       )
                                         )
ELLIOT LOYRANZY ARMSTRONG                )

                                     ORDER


       The aforesaid Plea Agi'eement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of gxxilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

       This 2-0 day of May 2019.




                                                         5A GODBE
                                          IITED STATES DISTRICT
                                        ;OUTHERN DISTRICT OF GEORG
